           18-22932-rdd                         Doc 76                 Filed 09/05/18                     Entered 09/05/18 19:43:27                                                Main Document
                                                                                                         Pg 1 of 54
 Fill in this information to identify the case:

 Debtor name            EMC Hotels and Resorts LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)               18-22932
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                      $      31,700,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                         $        2,985,914.26

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                        $      34,685,914.26


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                      $      27,403,373.82


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                         $            97,069.34

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                 +$      19,043,028.03


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                               $        46,543,471.19




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
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 Fill in this information to identify the case:

 Debtor name         EMC Hotels and Resorts LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-22932
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   BHI Operating Account                                    Checking                     4201                                           $0.00




            3.2.   BHI Payroll Account                                      Checking                     6701                                         $18.00




            3.3.   BHI Revenue Account                                      Checking                     5901                                  $92,864.00



                   TD Bank - TD Business Convenience
            3.4.   Plus (DIP)                                               Checking                     2548                                           $0.00



                   Wells Fargo - WY Time Hotel - Revenue
            3.5.   Account                                                  Checking                     5901                                    Unknown




            3.6.   Wells Fargo - WY Time Hotel, LLC                         Checking                     1311                                    Unknown




            3.7.   Wells Fargo - EMC Hotel & Resorts LLC                    Checking                     1311                                    Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
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 Debtor            EMC Hotels and Resorts LLC                                                Case number (If known) 18-22932
                   Name




 4.         Other cash equivalents (Identify all)


            4.1.     Petty Cash                                                                                                     $3,000.00




 5.         Total of Part 1.                                                                                                   $95,882.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Orange and Rockland Utility                                                                                    Unknown



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid Insurance                                                                                              $7,959.03




            8.2.     Prepaid Workers Comp                                                                                         $38,077.76




            8.3.     Prepaid Service Contracts                                                                                      $6,293.85




            8.4.     Prepaid Dues and Subs                                                                                        $16,130.89




            8.5.     Prepaid Other                                                                                                  $8,711.52




            8.6.     Security Deposit-1                                                                                           $15,590.01




 9.         Total of Part 2.                                                                                                   $92,763.06
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor         EMC Hotels and Resorts LLC                                                            Case number (If known) 18-22932
                Name


     Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                                 53,876.20   -                                   0.00 = ....                   $53,876.20
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                            739,939.00       -                                   0.00 = ....                  $739,939.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $793,815.20
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                               Valuation method used     Current value of
                                                                                                               for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                                                                                          Unknow
           15.1.     BV Grill Nyack LLC - See Disclaimer                                  n              %                                           Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                           $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last               Net book value of         Valuation method used     Current value of
                                                      physical inventory             debtor's interest         for current value         debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Misc                                                                                     $0.00                                            $7,558.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 3
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 Debtor         EMC Hotels and Resorts LLC                                                       Case number (If known) 18-22932
                Name


 23.       Total of Part 5.                                                                                                                $7,558.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Per 2016 Tax Return - See Global Notes                                       $1,785,481.00   Appraisal                         $1,300,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $1,300,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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 Debtor         EMC Hotels and Resorts LLC                                                    Case number (If known) 18-22932
                Name



           General description                                                Net book value of       Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Mercedes-Benz Passenger Van                                            $0.00                                            Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Land, building and
                     other depreciable
                     assets per 2016 Tax
                     Return                                                       $40,173,327.00      Appraisal                       $31,700,000.00




 56.       Total of Part 9.                                                                                                         $31,700,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 5
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 Debtor         EMC Hotels and Resorts LLC                                                    Case number (If known) 18-22932
                Name


             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            All known and used IP is the property of HHM
            Nyack, LLC                                                                 Unknown                                              Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Deferred Financing per 2016 Tax Return                                 $1,106,045.00     Tax records                         $695,896.00



 65.        Goodwill

 66.        Total of Part 10.                                                                                                         $695,896.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
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 Debtor          EMC Hotels and Resorts LLC                                                                          Case number (If known) 18-22932
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $95,882.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $92,763.06

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $793,815.20

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $7,558.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $1,300,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $31,700,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $695,896.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,985,914.26            + 91b.           $31,700,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $34,685,914.26




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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 Fill in this information to identify the case:

 Debtor name          EMC Hotels and Resorts LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)              18-22932
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Bank Hapoalim B.M.                            Describe debtor's property that is subject to a lien            $18,700,000.00                  Unknown
        Creditor's Name                               Generally all real estate, personal and
                                                      intangible property of Debtor. Claim is
        c/o Phillips Nizer LLP                        subject to verification but not subject to any
        485 Lexington Ave, 14th FL                    known disputes.
        New York, NY 10017
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    BT Hotel Operating LLC                        Describe debtor's property that is subject to a lien              $5,926,935.00                 Unknown
        Creditor's Name                               Real Property by Judge Lien. Judgement filed
                                                      on or around May 11, 2018 and to the extent
        c/o Skadden Arps LLP                          valid, is believed to be avoidable pursuant to
        Four Times Square                             11 USC 547.
        New York, NY 10036
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.3    NYACK HOTEL FUND LLC                          Describe debtor's property that is subject to a lien                 $2,414,152.78              Unknown
        Creditor's Name                               Real Property. Claim is subject to verification
        C/O Zou Singer Capital LLC                    but not subject to any known disputes.
        555 Fifth Avenue, 6th FL
        New York, NY 10017
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Rockland County - Dept of
 2.4                                                                                                                           $362,286.04            Unknown
        Fin.                                          Describe debtor's property that is subject to a lien
        Creditor's Name                               First Priority lien on all real property. Claim is
        50 Sanatorium Road                            subject to verification but not subject to any
        Building A, 8th Floor                         known disputes.
        Pomona, NY 10970
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $27,403,373.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        82

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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 Debtor       EMC Hotels and Resorts LLC                                                 Case number (if know)      18-22932
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         EMC Hotels and Resorts LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)          18-22932
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,027.04        $0.00
           ARAMARK REFRESHMENT                                       Check all that apply.
           SERVICES                                                   Contingent
           1511 TONNELLE AVENUE                                       Unliquidated
           NORTH BERGEN, NJ 07047                                     Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $138.18        $0.00
           ASSURED ENVIRONMENTS                                      Check all that apply.
           45 BROADWAY                                                Contingent
           10TH FLOOR                                                 Unliquidated
           NEW YORK, NY 10006                                         Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes




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 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          BV GRILL NYACK LLC                                         Check all that apply.
          400 HIGH AVE                                                Contingent
          NYACK, NY 10960                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $857.75    $0.00
          CARLO MINUTO CARTING                                       Check all that apply.
          COMPANY, INC.                                               Contingent
          P.O. BOX 234                                                Unliquidated
          WEST NYACK, NY, NY 10994                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,487.17    $0.00
          CINTAS CORPORATION- #616                                   Check all that apply.
          P.O. BOX 630803                                             Contingent
          CINCINNATI, OH 45263-0803                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,022.34    $0.00
          CVENT INC.                                                 Check all that apply.
          1765 GREENSBORO STATION                                     Contingent
          PLACE                                                       Unliquidated
          7TH FLOOR                                                   Disputed
          TYSONS CORNER, VA 22102
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes




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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $999.68    $0.00
          ECOLAB                                                     Check all that apply.
          P.O.BOX 32027                                               Contingent
          NEW YORK, NY 10087-2027                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $58.06    $0.00
          GOLD COIN LAUNDRY                                          Check all that apply.
          EQUIPMENT, LLC                                              Contingent
          91-26 143RD STREET                                          Unliquidated
          JAMAICA, NY                                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $103.82    $0.00
          HARBOR LINEN                                               Check all that apply.
          P O BOX 3510                                                Contingent
          CHERRY HILL, NJ 08034                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,054.67    $0.00
          HD SUPPLY FACILITIES                                       Check all that apply.
          MAINTENANCE, LTD                                            Contingent
          P.O. BOX 509058                                             Unliquidated
          SAN DIEGO, CA 92150-9058                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,107.94    $0.00
          HEALTH PASS NEW YORK                                       Check all that apply.
          PO BOX 28413                                                Contingent
          NEW YORK, NY 10087-8413                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $23,220.35    $0.00
          HHM Nyack, LLC                                             Check all that apply.
          200 WEST 55TH STREET                                        Contingent
          SUITE 42                                                    Unliquidated
          NEW YORK, NY 10019                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          Internal Revenue Service                                   Check all that apply.
          600 Arch Street                                             Contingent
          Philadelphia, PA 19106                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          Internal Revenue Service                                   Check all that apply.
          Payroll                                                     Contingent
          600 Arch Street                                             Unliquidated
          Philadelphia, PA 16106                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $15.30    $0.00
          LUXE TRAVEL MANAGEMENT INC                                 Check all that apply.
          SUITE 102                                                   Contingent
          1515 2. FEDERAL HIGHWAY                                     Unliquidated
          BOCA RATON, FL 33432                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $15.58    $0.00
          M3 ACCOUNTING + ANALYTICS                                  Check all that apply.
          1715 N Brown Road                                           Contingent
          BLDG A SUITE 200                                            Unliquidated
          GAINSVILLE, GA 30043                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          New York State Employment Taxe                             Check all that apply.
          PO Box 4119                                                 Contingent
          Binghamton, NY 13092-4119                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          New York State Occupancy Tax                               Check all that apply.
          PO BOX 15168                                                Contingent
          Albany, NY 12212                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          NEW YORK STATE SALES TAX                                   Check all that apply.
          PO BOX 15168                                                Contingent
          ALBANY, NY 12212-5168                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $40.17    $0.00
          NYS DEPARTMENT OF                                          Check all that apply.
          ENVIRONMENTAL CONSERVA                                      Contingent
          CHURCH STREET STATION                                       Unliquidated
          PO BOX 3782                                                 Disputed
          NEW YORK, NY 10008-3782
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (9)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $25,968.39    $0.00
          ORANGE & ROCKLAND PIKE                                     Check all that apply.
          COUNTY LIGHT & PO                                           Contingent
          PO BOX 1005                                                 Unliquidated
          SPRING VALLEY, NY 10977-0800                                Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $0.00
          REVINATE, INC.                                             Check all that apply.
          PO BOX 732056                                               Contingent
          DALLAS, TX 75373-2056                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,454.35    $0.00
          SABRE HOSPITALITY SOLUTIONS                                Check all that apply.
          7285 COLLECTION DRIVE                                       Contingent
          CHICAGO, IL 76092                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,326.10    $0.00
          SENTINEL MANAGMENT GROUP,                                  Check all that apply.
          INC                                                         Contingent
          96-59 222ND STREET                                          Unliquidated
          SUITE 200                                                   Disputed
          QUEENS VILLAGE, NY 11429
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,506.46    $0.00
          SIMONS INDUSTRIAL SUPPLY CO.                               Check all that apply.
          595 MANHATTAN AVE.                                          Contingent
          BROOKLYN, NY 11222                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $219.71    $0.00
          The Sherwin William Co                                     Check all that apply.
          202 W Route 59                                              Contingent
          Nanuet, NY 10954-2219                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes




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 2.27       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $15,736.65        $0.00
            TRAVELCLICK, INC.                                        Check all that apply.
            300 N. MARTINGALE                                         Contingent
            SUITE 650                                                 Unliquidated
            SCHAUMBURG, IL 60173                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.28       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $2,056.83    $0.00
            TRIPTEASE INC                                            Check all that apply.
            C/O GRINDSPACE                                            Contingent
            1216 BROADWAY 2ND FLOOR                                   Unliquidated
            NEWYORK, NY 10001                                         Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes

 2.29       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $5,352.80    $0.00
            WELBY, BRADY & GREENBLATT,                               Check all that apply.
            LLP                                                       Contingent
            11 MARITIME AVENUE                                        Unliquidated
            15TH FLOOR                                                Disputed
            WHITE PLAINS, NY 10606
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $394.17
           Abbey Ice & Spring Water                                                 Contingent
           One Hoffman Street                                                       Unliquidated
           Spring Valley, NY 10977                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $322.96
           Air Aroma Usa Dist LLC                                                   Contingent
           263 W 38th Street                                                        Unliquidated
           Level 12                                                                 Disputed
           New York, NY 10018
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes


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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,060.81
          All Phase Electric Enterprises, Inc                                 Contingent
          75A Lake Road                                                       Unliquidated
          Suite 179                                                           Disputed
          Congers, NY 10920
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $431.25
          Ambius                                                              Contingent
          P O Box 14086                                                       Unliquidated
          Reading, PA 19612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,280.06
          American Hotel Register                                             Contingent
          PO Box 206720                                                       Unliquidated
          Dallas, TX 75320-6720                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $910.00
          Ameripark                                                           Contingent
          388 Madeline Ave                                                    Unliquidated
          Garfield, NJ 07026                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $32,993.00
          Amtrust North America                                               Contingent
          PO Box 6939                                                         Unliquidated
          Cleveland, OH 44101-1939                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $44.01
          Aptar Group                                                         Contingent
          Aptar Radolfzell Gmbh                                               Unliquidated
          Oeschelstr .54-56                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,705.80
          Aramark Refreshment Services                                        Contingent
          1511 Tonnelle Avenue                                                Unliquidated
          North Bergen, NJ 07047                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $31.76
          ASAP Cruises Inc                                                    Contingent
          8030 Philips Hwy                                                    Unliquidated
          Ste 13                                                              Disputed
          Jacksonville, FL 32256-7483
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $698.18
          ASCAP                                                               Contingent
          Po Box 331608                                                       Unliquidated
          Nashville, TN 37203-7515                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $270.94
          Assured Environments                                                Contingent
          45 Broadway                                                         Unliquidated
          10th Floor                                                          Disputed
          New York, NY 10006
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $42.11
          BCD Travel Usa LLC                                                  Contingent
          Suite 308                                                           Unliquidated
          25 W 45th St                                                        Disputed
          New York, NY 10036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $42.11
          BCD Travel Usa LLC                                                  Contingent
          Suite 350                                                           Unliquidated
          26877 Northwestern Hwy                                              Disputed
          Southfield, MO 48033
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $6,500,000.00
          BCG Ritz Trump, Llc                                                 Contingent
          C/O Moritt Hock & Hamroff Llp
          400 Garden City Plaza
                                                                              Unliquidated
          Garden City, NY 11530                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $184,433.80
          Belfor                                                              Contingent
          75 Virginia Road                                                    Unliquidated
          White Plains, NY 10603                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,770.58
          Best Landscape & Maintenance                                        Contingent
          PO Box 32                                                           Unliquidated
          Blauvelt, NY 10913                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $897.75
          Blueprint Rf                                                        Contingent
          5555 Oakbrook Pkwy                                                  Unliquidated
          Suite 640                                                           Disputed
          Norcross, GA 30093
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          BV GRILL NYACK LLC                                                  Contingent
          c/o McGuireWoods LLP-Shawn Fox
          310 Fourth Street, N.E. Ste300
                                                                              Unliquidated
          Charlottesville, VA 22902-1288                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $398.55
          Capital Supply Company                                              Contingent
          115 Castle Road                                                     Unliquidated
          Secaucus, NJ 07094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,289.76
          Carlo Minuto Carting Company, Inc.                                  Contingent
          P.O. Box 234                                                        Unliquidated
          West Nyack, Ny, NY 10994                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,750.00
          Carolyn Izzo Integrated Communications,                             Contingent
          1 Piermont Avenue                                                   Unliquidated
          Nyack, NY 10960                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,500.00
          Chandelier- New York                                                Contingent
          611 Broadway, Penthouse                                             Unliquidated
          New York, NY 10012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $240.90
          Chemsearchfe                                                        Contingent
          23261 Network Place                                                 Unliquidated
          Chicago, IL 60673-1232                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,254.90
          Chestnut Discount Cleaners                                          Contingent
          6 B Red Schoolhouse Rd                                              Unliquidated
          Spring Valley, NY 10977                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,525.00
          Christopher Meredith                                                Contingent
          PO Box 224                                                          Unliquidated
          Pomona, NY 10970                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $800.25
          Ciat- Program FP2 G101Fl11                                          Contingent
          Nit 800.034.586-2                                                   Unliquidated
          Km 17 Via Cali-Palmira                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,369.98
          Cintas Corporation                                                  Contingent
          97627 Eagle Way                                                     Unliquidated
          Chicago, IL 60678-7627                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,225.21
          Cintas Corporation- #616                                            Contingent
          P.O. Box 630803                                                     Unliquidated
          Cincinnati, OH 45263-0803                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,400.00
          Citrin Cooperman                                                    Contingent
          529 Fifth Avenue                                                    Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $828.06
          Clean & Clean Corp.                                                 Contingent
          60 North Harrison Avenue                                            Unliquidated
          Unit 25                                                             Disputed
          Congers, NY 10920
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,350.00
          Connect                                                             Contingent
          Attn: Acounting Dept                                                Unliquidated
          15 Technology Parkway S, Suite 250                                  Disputed
          Norcross, GA 30092
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $34,292.38
          County Of Rockland, Commissioner Of Fina                            Contingent
          50 Sanatorium Road                                                  Unliquidated
          Pomona, NY 10970                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $523.69
          Crown Products                                                      Contingent
          450 Nepperhan Avenue                                                Unliquidated
          Yonkers, NY 10701-6601                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,300.00
          Cvent Inc.                                                          Contingent
          1765 Greensboro Station Place                                       Unliquidated
          7th Floor                                                           Disputed
          Tysons Corner, VA 22102
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,438.43
          D & D Elevator Maintenance,Inc                                      Contingent
          38 Hayes Street                                                     Unliquidated
          Elmsford, NY 10960                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,119.00
          Duetto Research Inc.                                                Contingent
          C/O Temp CFO Inc.                                                   Unliquidated
          250 Sutter Street ,Suite 400                                        Disputed
          San Francisco Ave, CA 94108
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $149.69
          E-Zpass                                                             Contingent
          P.O. Box 15185                                                      Unliquidated
          Albany, NY 12212-5185                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,405.13
          Ecolab                                                              Contingent
          P.O.Box 32027                                                       Unliquidated
          New York, NY 10087-2027                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,255.08
          Elite Moving & Storage                                              Contingent
          P O Box 384                                                         Unliquidated
          New York, NY 10027                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,500.00
          Express Lighting                                                    Contingent
          245 48th St #2                                                      Unliquidated
          Brooklyn, NY 11220                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $555.62
          Fedex                                                               Contingent
          P.O. Box 371461                                                     Unliquidated
          Pittsburgh, PA 15250-7461                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,303.82
          Frette North America                                                Contingent
          850 Third Avenue                                                    Unliquidated
          10 th Floor                                                         Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,123.98
          Gbt Us LLC                                                          Contingent
          2401 W Behrend Dr                                                   Unliquidated
          Mc13-01-76 Ste 55/B535                                              Disputed
          Phoenix, AZ 85027
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $288.59
          Global Travel International Inc                                     Contingent
          Suite 305                                                           Unliquidated
          1060 Maitland Center Commons                                        Disputed
          Maitland, FL 32751
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $43.35
          Gold Coin Laundry Equipment, LLC                                    Contingent
          91-26 143rd Street                                                  Unliquidated
          Jamaica, NY                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $590.65
          Gray V                                                              Contingent
          1098 W Willow Street                                                Unliquidated
          Louisville, CO 80027                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,148.76
          Harbor Linen                                                        Contingent
          P O Box 3510                                                        Unliquidated
          Cherry Hill, NJ 08034                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,391.27
          Hd Supply Facilities Maintenance, Ltd                               Contingent
          P.O. Box 509058                                                     Unliquidated
          San Diego, CA 92150-9058                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,832.94
          Health Pass New York                                                Contingent
          PO Box 28413                                                        Unliquidated
          New York, NY 10087-8413                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,000.00
          Heather Grabin                                                      Contingent
          38 Independence Way                                                 Unliquidated
          Jersey City, NJ 07305                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,000.00
          Help From People To People Inc                                      Contingent
          121 West Nyack Road                                                 Unliquidated
          Nanuet, NY 10956                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $492,591.04
          HHM Nyack, LLC                                                      Contingent
          200 West 55Th Street                                                Unliquidated
          Suite 42
                                                                              Disputed
          New York, NY 10019
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $332.25
          Hireright, LLC                                                      Contingent
          PO Box 847891                                                       Unliquidated
          Dallas, TX 75284-7891                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,600.00
          House Of Kooser                                                     Contingent
          PO Box 3184                                                         Unliquidated
          New York, NY 10163                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $750.00
          Howard Dean Properties                                              Contingent
          150 White Plains Road                                               Unliquidated
          Suite 300
          Tarrytown, NY 10591                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,733.99
          Hughe Environmental Eng. Inc.                                       Contingent
          14 Leighton Place                                                   Unliquidated
          Mahwah, NJ 07430                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $230.41
          Insight Direct Usa, Inc.                                            Contingent
          PO Box 731069                                                       Unliquidated
          Dallas, TX 75373-1069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $433.50
          Interflo Inc                                                        Contingent
          PMB 126                                                             Unliquidated
          100 Springdale Rd Ste 126                                           Disputed
          Cherry Hill, NJ 08003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Internal Revenue Service                                            Contingent
          600 Arch Street                                                     Unliquidated
          Philadelphia, PA 19106                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,247.58
          Jerry Allen Travel Agency Inc                                       Contingent
          20624 Biscayne Bvld                                                 Unliquidated
          Miami, FL 33180-1534                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $15.30
          JTB USA Inc                                                         Contingent
          One Evertrust Plaza                                                 Unliquidated
          Jersey City, NJ 07302                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,770.77
          Justin Sweet                                                        Contingent
          Town Clerk                                                          Unliquidated
          10 Maple Avenue                                                     Disputed
          New City, NY 10956
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,528.12
          Kerry Wellington                                                    Contingent
          525 West 22nd Street                                                Unliquidated
          New York, NY 10001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,312.69
          La Bottega                                                          Contingent
          264 West 40th Street                                                Unliquidated
          Suite 201                                                           Disputed
          New York, NY 10018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,925.97
          LeGrande                                                            Contingent
          200 West 55th Street                                                Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $187.90
          Lexyl Travel Technologies LLC                                       Contingent
          P O Box 645452                                                      Unliquidated
          Pittsburgh, PA 15264-5452                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $143.34
          Luxe Travel Management Inc                                          Contingent
          Suite 102                                                           Unliquidated
          1515 2. Federal Highway                                             Disputed
          Boca Raton, FL 33432
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $819.41
          M3 Accounting + Analytics                                           Contingent
          1715 N Brown Road                                                   Unliquidated
          Bldg A Suite 200                                                    Disputed
          Gainsville, GA 30043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,400.00
          Maior Technology Group, LLC                                         Contingent
          500 N. Michigan Ave                                                 Unliquidated
          Suite 600                                                           Disputed
          Chicago, IL 60611
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,592.02
          Marie Palomba                                                       Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $43.20
          Mercedes-Benz Financial Services USA                                Contingent
          P.O. Box 5260                                                       Unliquidated
          Carol Stream, IL 60197-5260                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,129.05
          Minibar North Americas Inc                                          Contingent
          P O Box 38017                                                       Unliquidated
          Baltimore, MD 21297-8017                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,650.00
          My Electrician                                                      Contingent
          1333A North Avenue                                                  Unliquidated
          New Rochelle, NY 10804                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $133.29
          Neopost                                                             Contingent
          PO Box 30193                                                        Unliquidated
          Tampa, FL 33630-3193                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $70.00
          New York State Thruway Authority                                    Contingent
          P.O. Box 189                                                        Unliquidated
          Albany, NY 12201-1089                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $30.43
          NHI-2, LLC                                                          Contingent
          85 W Algonquin Rd                                                   Unliquidated
          Ste 165                                                             Disputed
          Arlington Heights, IL 60005-4424
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9.52
          Nippon Express Travel Usa Inc                                       Contingent
          950 Francisco Street                                                Unliquidated
          Torrance, CA 90502                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          NY Attorney General                                                 Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,000.00
          Nyack Hotel Fund LLC                                                Contingent
          C/O East Bridge Group LLC                                           Unliquidated
          40 West 57 th Street, 29th Floor                                    Disputed
          New York, NY 10019
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $375.00
          Nyack Justice Court                                                 Contingent
          9 North Broadway Nyack                                              Unliquidated
          Nyack, NY 10960                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $110.00
          Nys Department Of Environmental Conserva                            Contingent
          Church Street Station                                               Unliquidated
          PO Box 3782                                                         Disputed
          New York, NY 10008-3782
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          NYS Department of Finance                                           Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          NYS Department of Labor                                             Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,721.54
          Open Systems                                                        Contingent
          258 Route 117 By- Pass Road                                         Unliquidated
          Bedford Hills, NY 10507                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $60,006.77
          Orange & Rockland Pike County Light & Po                            Contingent
          Po Box 1005                                                         Unliquidated
          Spring Valley, NY 10977-0800                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,500.00
          Permac Restoration Inc                                              Contingent
          97 Maple Place                                                      Unliquidated
          Yonkers, NY 10704                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $597.08
          Premiere Advisory Group, Inc.                                       Contingent
          4720 Center Boulevard                                               Unliquidated
          Suite 309                                                           Disputed
          Long Island City, NY 11109
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $25.00
          Premins Company, Inc.                                               Contingent
          P.O. Box 230138                                                     Unliquidated
          Gravesend Station                                                   Disputed
          Brooklyn, NY 11223-0138
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,491.00
          Protravel International LLC                                         Contingent
          5 Becker Farm Road                                                  Unliquidated
          Roseland, NJ 07068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $55.60
          Protravel New Jersey                                                Contingent
          5 Becker Farm Rd                                                    Unliquidated
          Roseland, NJ 07068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,267.81
          Quill Corporation                                                   Contingent
          PO Box: 37600                                                       Unliquidated
          Philadelphia, PA 19101-0600                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,910.00
          Ramstar Transportaton Inc.                                          Contingent
          113 Oakwood Avenue                                                  Unliquidated
          Cliffside Park, NJ 07010                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,350.00
          Revinate, Inc.                                                      Contingent
          PO Box 732056                                                       Unliquidated
          Dallas, TX 75373-2056                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,997.70
          Revival New York                                                    Contingent
          2581 Richmond Ter                                                   Unliquidated
          Staten Island, NY 10303                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $93,095.85
          Robert R. Simon                                                     Contingent
          Reciever Of Taxes                                                   Unliquidated
          26 Orangeburg Road                                                  Disputed
          Ornagburg, NY 10962
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $730.00
          Rockland Business Assoc. Inc.                                       Contingent
          P.O. Box 1567                                                       Unliquidated
          One Blue Hill Plaza                                                 Disputed
          Pearl River, NY 10965
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,312.80
          Sabre Hospitality Solutions                                         Contingent
          7285 Collection Drive                                               Unliquidated
          Chicago, IL 76092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,001.35
          Safeguard Business Systems                                          Contingent
          Po Box 88043                                                        Unliquidated
          Chicago, IL 60680-1043                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $280.85
          Samantha Bermudez                                                   Contingent
          5 Vine Street                                                       Unliquidated
          Greenwood Lake, NY 10925                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14.40
          Sara Enterprises Inc                                                Contingent
          2355 Honolulu Ave                                                   Unliquidated
          Montrose, CA 91020-1821                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $31,449.76
          Sentinel Managment Group, Inc                                       Contingent
          96-59 222nd Street                                                  Unliquidated
          Suite 200                                                           Disputed
          Queens Village, NY 11429
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $611.37
          Sesac, LLC                                                          Contingent
          35 Music Square East                                                Unliquidated
          Nashville, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $150.00
          Shyam Mehrotra                                                      Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14.31
          Siemens Corporation                                                 Contingent
          3850 Quadrangle Blvd                                                Unliquidated
          Scim 644                                                            Disputed
          Orlando, FL 32817
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,677.27
          Simons Industrial Supply Co.                                        Contingent
          595 Manhattan Ave.                                                  Unliquidated
          Brooklyn, NY 11222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $78.44
          Tablet Hotels Inc                                                   Contingent
          6 West 18th Street                                                  Unliquidated
          Fl 5                                                                Disputed
          New York, NY 10011-4638
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $18.90
          Team America Inc                                                    Contingent
          33 W 46th Street                                                    Unliquidated
          Fl3                                                                 Disputed
          New York, NY 10036-4103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $113.01
          The Cain Tvl Group Of Boulder Inc                                   Contingent
          2990 Center Green Ct                                                Unliquidated
          Suite 100                                                           Disputed
          Boulder, CO 80301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,644.94
          The Regency Group                                                   Contingent
          32 West 39 Th Street 12th Floor                                     Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $147.01
          The Sherwin William Co                                              Contingent
          202 W Route 59                                                      Unliquidated
          Nanuet, NY 10954-2219                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,300.49
          The Time New York                                                   Contingent
          224 W 49th Street                                                   Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $256.60
          The Travel Society LLC                                              Contingent
          650 S Cherry St                                                     Unliquidated
          Suite 201                                                           Disputed
          Denver, CO 80246-1556
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,784.00
          Tour Connection, Inc                                                Contingent
          125 Walnut Blvd                                                     Unliquidated
          Rochester, MI 48307                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 24 of 27
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 Debtor       EMC Hotels and Resorts LLC                                                              Case number (if known)            18-22932
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $32,259.76
          Trane U.S. Inc.                                                     Contingent
          19 Chapin Road                                                      Unliquidated
          Ste: 200                                                            Disputed
          Pine Brook, NJ 07058
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $28.80
          Travel Inc                                                          Contingent
          4355 River Green Pkwy                                               Unliquidated
          Suite 100                                                           Disputed
          Duluth, GA 30096-9404
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,714.28
          Travel Industries Inc                                               Contingent
          P O Box 741110                                                      Unliquidated
          Atlanta, GA 30384-4110                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,428.57
          Travel Leaders Group LLC                                            Contingent
          Hotel Division Accounts Payable                                     Unliquidated
          1650 King Street Suite 450                                          Disputed
          Alexandria, VA 22314
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $35,908.17
          Travelclick, Inc.                                                   Contingent
          300 N. Martingale                                                   Unliquidated
          Suite 650                                                           Disputed
          Schaumburg, IL 60173
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,598.80
          Triptease Inc                                                       Contingent
          C/O Grindspace                                                      Unliquidated
          1216 Broadway 2nd Floor                                             Disputed
          Newyork, NY 10001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $27.80
          United Healthcare Services Inc                                      Contingent
          9900 Bren Road East MN008-W345                                      Unliquidated
          Attn: Travel Dept                                                   Disputed
          Minnetonka, MN 55343
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 25 of 27
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 Debtor       EMC Hotels and Resorts LLC                                                              Case number (if known)            18-22932
              Name

 3.122     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           US Attorney                                                        Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.123     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $38,679.20
           Village Of Nyack                                                   Contingent
           P.O. Box 1317                                                      Unliquidated
           Buffalo, NY 14240                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,763.96
           Volara                                                             Contingent
           450 Lexington Avenue                                               Unliquidated
           Floor 4- Wework                                                    Disputed
           New York, NY 10017
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.125     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,692.11
           Vonage Business Network, Inc.                                      Contingent
           P.O. Box 392479                                                    Unliquidated
           Pittsburgh, PA 15251-9479                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,250.00
           Wainscot                                                           Contingent
           110 Summit Avenue                                                  Unliquidated
           Montvale, NJ 07645                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,083.67
           Welby, Brady & Greenblatt, LLP                                     Contingent
           11 Maritime Avenue                                                 Unliquidated
           15th Floor                                                         Disputed
           White Plains, NY 10606
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.128     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.       $11,162,300.00
           ZSC EB-5 Nyack Hotel Fund LLC                                      Contingent
           C/O East Bridge Group LLC                                          Unliquidated
           40 West 57 Th Street, 29th Flo
                                                                              Disputed
           New York, NY 10019
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


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 Debtor       EMC Hotels and Resorts LLC                                                         Case number (if known)         18-22932
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    97,069.34
 5b. Total claims from Part 2                                                                       5b.   +   $                19,043,028.03

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   19,140,097.37




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 Fill in this information to identify the case:

 Debtor name         EMC Hotels and Resorts LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-22932
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Lobby scent monthly
              lease is for and the nature of              rental
              the debtor's interest

                  State the term remaining                                           AIR AROMA USA DIST LLC
                                                                                     263 W 38TH STREET
              List the contract number of any                                        LEVEL 12
                    government contract                                              NEW YORK, NY 10018


 2.2.         State what the contract or                  Live lobby plants
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     AMBIUS
              List the contract number of any                                        P O BOX 14086
                    government contract                                              READING, PA 19612


 2.3.         State what the contract or                  Inhouse coffee
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     ARAMARK REFRESHMENT SERVICES
              List the contract number of any                                        1511 TONNELLE AVENUE
                    government contract                                              NORTH BERGEN, NJ 7047


 2.4.         State what the contract or                  Music license
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     ASCAP
              List the contract number of any                                        PO Box 331608
                    government contract                                              Nashville, TN 37203




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 6
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 Debtor 1 EMC Hotels and Resorts LLC                                                          Case number (if known)   18-22932
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Pest control
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            ASSURED ENVIRONMENTS
                                                                                      45 BROADWAY
             List the contract number of any                                          10TH FLOOR
                   government contract                                                NEW YORK, NY 10006


 2.6.        State what the contract or                   Ecommerce travel
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      BOOKINGS.COM B.V.
             List the contract number of any                                          5295 PAYSPHERE CIRCLE
                   government contract                                                CHICAGO, IL 60674-5295


 2.7.        State what the contract or                   Restaurant within hotel
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            BV GRILL NYACK LLC
                                                                                      c/o McGuireWoods LLP-Shawn Fox
             List the contract number of any                                          310 Fourth Street, N.E. Ste300
                   government contract                                                Charlottesville, VA 22902-1288


 2.8.        State what the contract or                   Waste removal
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Carlo Minuto Carting Co.
             List the contract number of any                                          PO Box 234
                   government contract                                                West Nyack, NY 10994


 2.9.        State what the contract or                   Social media platform
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      CHANDELIER- NEW YORK
             List the contract number of any                                          611 BROADWAY, PENTHOUSE
                   government contract                                                NEW YORK, NY 10012


 2.10.       State what the contract or                   Uniforms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            CINTAS CORPORATION
                                                                                      97627 EAGLE WAY
             List the contract number of any                                          CHICAGO, IL 60678-7627
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 6
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 Debtor 1 EMC Hotels and Resorts LLC                                                         Case number (if known)   18-22932
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   Meeting leads
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CVENT INC.
                                                                                     1765 GREENSBORO STATION PLACE
             List the contract number of any                                         7TH FLOOR
                   government contract                                               TYSONS CORNER, VA 22102


 2.12.       State what the contract or                   Monthly elevator
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining
                                                                                     D & D Elevator Maintenance,Inc
             List the contract number of any                                         38 Hayes Street
                   government contract                                               Elmsford, NY 10960


 2.13.       State what the contract or                   TV for guest rooms and
             lease is for and the nature of               public
             the debtor's interest

                  State the term remaining
                                                                                     DIRECT TV
             List the contract number of any                                         PO BOX 5006
                   government contract                                               CAROL STREAM, IL 60197-5006


 2.14.       State what the contract or                   Reservation system
             lease is for and the nature of               support
             the debtor's interest

                  State the term remaining                                           DUETTO RESEARCH INC.
                                                                                     C/O TEMP CFO INC.
             List the contract number of any                                         250 Sutter Street ,Suite 400
                   government contract                                               San Francisco Ave, CA 94108


 2.15.       State what the contract or                   Advertisement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EXPEDIA TRAVEL
             List the contract number of any                                         PO BOX 847677
                   government contract                                               DALLAS, TX 75284-7677


 2.16.       State what the contract or                   Music license
             lease is for and the nature of                                          GRAY V
             the debtor's interest                                                   1098 W WILLOW STREET
                                                                                     LOUISVILLE, CO 80027
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 6
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 Debtor 1 EMC Hotels and Resorts LLC                                                          Case number (if known)   18-22932
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Hotel Management
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                            HHM Nyack LLC
                                                                                      200 WEST 55TH STREET
             List the contract number of any                                          SUITE 42
                   government contract                                                NEW YORK, NY 10019


 2.18.       State what the contract or                   Reservation system
             lease is for and the nature of               support
             the debtor's interest

                  State the term remaining                                            Hotelbeds
                                                                                      7083 Grand National Drive
             List the contract number of any                                          Suite 102
                   government contract                                                Orlando, FL 32819


 2.19.       State what the contract or                   PMS system
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            INFOR (US), INC.
                                                                                      NW 7418
             List the contract number of any                                          PO BOX 1450
                   government contract                                                MINNEAPOLIS, NC 55485-7418


 2.20.       State what the contract or                   Guest transportation
             lease is for and the nature of               van lease
             the debtor's interest

                  State the term remaining
                                                                                      Mercedes-Benz Credit Corp.
             List the contract number of any                                          P.O. Box 5209
                   government contract                                                Carol Stream, IL 60197-5209


 2.21.       State what the contract or                   Credit card interface
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      MERCHANT LINK
             List the contract number of any                                          8401 COLESVILLE RD.
                   government contract                                                SILVER SPINGS, MD 20910




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 4 of 6
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 Debtor 1 EMC Hotels and Resorts LLC                                                         Case number (if known)   18-22932
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.22.       State what the contract or                   Fire system support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     OPEN SYSTEMS
             List the contract number of any                                         258 ROUTE 117 BY- PASS ROAD
                   government contract                                               BEDFORD HILLS, NY 10507


 2.23.       State what the contract or                   Ecommerce travel
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     PRICELINE.COM LLC
             List the contract number of any                                         800 CONNECTICUT AVE
                   government contract                                               NORWALK, CT 6854


 2.24.       State what the contract or                   Mastercard/Visa
             lease is for and the nature of               processor
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         Santander
                   government contract                                               Boston, MA 02101


 2.25.       State what the contract or                   Music license
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     SESAC, LLC
             List the contract number of any                                         35 MUSIC SQUARE EAST
                   government contract                                               NASHVILLE, TN 37203


 2.26.       State what the contract or                   HV system
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         Trane U.S. Inc
                   government contract


 2.27.       State what the contract or                   PPC system
             lease is for and the nature of
             the debtor's interest
                                                                                     TravelClick
                  State the term remaining                                           300 N. Martingale
                                                                                     Suite 600
             List the contract number of any                                         Schaumburg, IL 60173
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 5 of 6
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.28.       State what the contract or                   TA commission
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         Triptease Inc
                   government contract


 2.29.       State what the contract or                   Telephone and internet
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Vonage Business Network, Inc.
             List the contract number of any                                         PO Box 392479
                   government contract                                               Pittsburgh, PA 15251-9479




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 Fill in this information to identify the case:

 Debtor name         EMC Hotels and Resorts LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-22932
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Donald                            2906 Old Lexington Road                          Bank Hapoalim B.M.              D       2.1
             Wellington                        Asheboro, NC 27205                                                                E/F
                                                                                                                                G



    2.2      Donald                            2906 Old Lexington Road                          NYACK HOTEL FUND                D       2.3
             Wellington                        Asheboro, NC 27205                               LLC                              E/F
                                                                                                                                G



    2.3      Donald                            2906 Old Lexington Road                          ZSC EB-5 Nyack                  D
             Wellington                        Asheboro, NC 27205                               Hotel Fund LLC                   E/F        3.128
                                                                                                                                G



    2.4      Donald                            2906 Old Lexington Road                          BCG Ritz Trump, Llc             D
             Wellington                        Asheboro, NC 27205                                                                E/F        3.15
                                                                                                                                G



    2.5      KAW NR, LLC                                                                        BCG Ritz Trump, Llc             D
                                                                                                                                 E/F        3.15
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 2
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 Debtor       EMC Hotels and Resorts LLC                                               Case number (if known)   18-22932


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Kerry Wellington                  a.k.a. KAW Nylo Nyack, LLC                   Bank Hapoalim B.M.             D       2.1
                                               525 W 22nd Street                                                            E/F
                                               New York, NY 10001
                                                                                                                           G




    2.7      Kerry Wellington                  a.k.a. KAW Ny                                NYACK HOTEL FUND               D       2.3
                                               525 W 22nd Street                            LLC                             E/F
                                               New York, NY 10001
                                                                                                                           G




    2.8      Kerry Wellington                  a.k.a. KAW Nylo Nyack, LLC                   BCG Ritz Trump, Llc            D
                                               525 W 22nd Street                                                            E/F       3.15
                                               New York, NY 10001
                                                                                                                           G




    2.9      Metloft                           79 Main Street                               BCG Ritz Trump, Llc            D
             Bronxville, LLC                   Nyack, NY 10960                                                              E/F       3.15
                                                                                                                           G



    2.10     Michael Yanko                     79 Main Street                               BCG Ritz Trump, Llc            D
                                               Nyack, NY 10960                                                              E/F       3.15
                                                                                                                           G




Official Form 206H                                                      Schedule H: Your Codebtors                                     Page 2 of 2
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               GLOBAL NOTES, METHODOLOGY AND SPECIFIC
          DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                           Introduction

       On June 18, 2018 (the “Filing Date”), an involuntary Chapter 7 petition was filed against
EMC Hotels and Resorts, LLC (the “Debtor”), under title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York,
White Plains Division (the “Bankruptcy Court”).

       Only July 20, 2018, the Bankruptcy Court entered an order converting the Chapter 7 case
to Chapter 11 under of the Bankruptcy Code. See Order signed on 7/20/2018 Granting Motion
Converting Chapter 7 Case Under Chapter 11 of the Bankruptcy Code (Dkt. 31).

       On July 25, 2018, the Bankruptcy Court entered an order approving the appointment of
Fred Stevens, Esq., as the Chapter 11 Trustee (the “Trustee”). See Order signed on 7/25/2018
Approving the Appointment of Fred Stevens, Esq. as Chapter 11 Trustee (Dkt. 34).

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of the Debtor’s Schedules
and Statements. The Global Notes should be referred to, considered, and reviewed in connection
with any review of the Schedules and Statements.

       The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of the Debtor (whether
publically filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Trustee’s
reasonable efforts to report the assets and liabilities of the Debtor.

       In preparing the Schedules and Statements, the Trustee relied upon information derived
from the Debtor’s books and records that was available at the time of such preparation. Although
the Trustee has made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.

        The Chapter 11 Trustee, his attorneys, financial advisors and the hotel’s management
company do not guarantee or warrant the accuracy or completeness of the data that is provided in
the Schedules and Statements, and shall not be liable for any loss or injury arising out of or caused
in whole or in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating, or delivering the information contained in the
Schedules and Statements. Except as expressly required by the Bankruptcy Code, the Chapter 11
Trustee, his attorneys, financial advisors and the hotel’s management company expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided in

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the Schedules and Statements or to notify any third party should the information be updated,
modified, revised, or re-categorized. The Trustee, on behalf of himself or the Debtor’s officers,
employees, agents, and advisors disclaim any liability to any third party arising out of or related
to the information contained in the Schedules and Statements and reserve all rights with respect
thereto.

       In reviewing and signing the Schedules and Statements, this Trustee relied upon the efforts,
statements, and representations of the Trustee’s professionals and the Debtor’s personnel and the
hotel management company. The Trustee has not (and could not have) personally verified the
accuracy of each such statement and representation, including, for example, statements and
representations concerning amounts owed to creditors and their addresses.

                              Global Notes and Overview of Methodology

    1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
       and accurate Schedules and Statements; however, inadvertent errors or omissions may
       exist. The Trustee reserves all rights to amend or supplement the Schedules and Statements
       from time to time, in all respects, as may be necessary or appropriate, including, without
       limitation, the right to amend the Schedules and Statements with respect to claim
       (“Claim”) description, designation; dispute or otherwise assert offsets or defenses to any
       Claim reflected in the Schedules and Statements as to amount, liability, priority, status, or
       classification; subsequently designate any Claim as “disputed,” “contingent,” or
       “unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of
       any Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”
       “contingent,” or “unliquidated” does not constitute an admission by the Trustee that such
       Claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does
       not constitute an admission of liability by the Trustee against which the Claim is listed or
       against the Debtor. Furthermore, nothing contained in the Schedules and Statements shall
       constitute a waiver of rights with respect to the Debtor’s chapter 11 case, including, without
       limitation, issues involving Claims, defenses, equitable subordination, recharacterization,
       and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code
       and any other relevant non-bankruptcy laws to recover assets or avoid transfers. Any
       specific reservation of rights contained elsewhere in the Global Notes does not limit in any
       respect the general reservation of rights contained in this paragraph. Notwithstanding the
       foregoing, the Trustee shall not be required to update the Schedules and Statements.

    2. Description of Cases and “as of” Information Date. The asset information provided in
       the Schedules and Statements, except as otherwise noted, represents the asset data of the
       Debtor as of the close of business on June 18, 2018, and the liability information provided
       herein, except as otherwise noted, represents the liability data of the Debtor as of the close
       of business on June 18, 2018.

    3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
       an inefficient use of estate assets for the Trustee to obtain current market valuations for all
       of the Debtor’s assets. Additionally, because the book values of certain assets, such as
       equipment may materially differ from their fair market values, they may be listed as

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       undetermined amounts as of the Petition Date. Furthermore, as applicable, assets that have
       fully depreciated or were expensed for accounting purposes may not appear in the
       Schedules and Statements if they have no net book value.

    4. Recharacterization. Notwithstanding the Trustee’s reasonable efforts to properly
       characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
       unexpired leases, and other items reported in the Schedules and Statements, the Trustee
       may, nevertheless, have improperly characterized, classified, categorized, designated, or
       omitted certain items due to the complexity and size of the Debtor’s businesses.
       Accordingly, the Trustee reserves all of his rights to recharacterize, reclassify, recategorize,
       redesignate, add, or delete items reported in the Schedules and Statements at a later time
       as is necessary or appropriate as additional information becomes available, including,
       without limitation, whether contracts or leases listed herein were deemed executory or
       unexpired as of the Petition Date and remain executory and unexpired postpetition.

    5. Real Property and Personal Property–Leased. In the ordinary course of its business,
       the Debtor leases various articles of personal property, including, fixtures, and equipment,
       from certain third-party lessors. The Trustee has made reasonable efforts to list all such
       leases in the Schedules and Statements.

    6. Excluded Assets and Liabilities. The Trustee has sought to allocate liabilities between
       the prepetition and post-petition periods based on the information and research conducted
       in connection with the preparation of the Schedules and Statements. As additional
       information becomes available and further research is conducted, the allocation of
       liabilities between the prepetition and post-petition periods may change.

    7. The liabilities listed on the Schedules do not reflect any analysis of Claims under section
       503(b)(9) of the Bankruptcy Code. Accordingly, the Trustee reserves all of his rights to
       dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
       Bankruptcy Code or the characterization of the structure of any such transaction or any
       document or instrument related to any creditor’s Claim.

       The Trustee has excluded certain categories of assets, tax accruals, and liabilities from the
       Schedules and Statements, including, without limitation, accrued salaries, employee
       benefit accruals, and deferred gains. In addition, certain immaterial assets and liabilities
       may have been excluded.

       The Bankruptcy Court has authorized the Trustee to pay, in his discretion, certain
       outstanding Claims on a post-petition basis. However, only prepetition liabilities related to
       ordinary course wages and compensation that have been paid postpetition have been
       excluded from the Schedules.

    8. Executory Contracts and Unexpired Leases. The Debtor’s executory contracts and
       unexpired leases have been set forth in Schedule G.



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    9. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
       E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as
       “executory” or “unexpired,” does not constitute an admission by the Trustee of the legal
       rights of the claimant, or a waiver of the Trustee’s rights to recharacterize or reclassify such
       Claims or contracts or leases or to setoff of such Claims.

    10. Claims Description. Schedules D and E/F permit the Trustee to designate a Claim as
        “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim as
        “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the Trustee
        that such amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim is
        not subject to objection. Moreover, listing a Claim does not constitute an admission of
        liability by the Trustee.

    11. Causes of Action. Despite their reasonable efforts to identify all known assets, the Trustee
        may not have listed all of the Debtor’s causes of action or potential causes of action against
        third-parties as assets in the Schedules and Statements, including, without limitation,
        causes of actions arising under the provisions of chapter 5 of the Bankruptcy Code and any
        other relevant non-bankruptcy laws to recover assets or avoid transfers. The Trustee
        reserves all of his rights with respect to any cause of action (including avoidance actions),
        controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on
        contracts or for breaches of duties imposed by law or in equity, demand, right, action, lien,
        indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, power,
        privilege, license, and franchise of any kind or character whatsoever, known, unknown,
        fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated or
        unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
        derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in
        law, or in equity, or pursuant to any other theory of law (collectively, “Causes of Action”)
        they may have, and neither these Global Notes nor the Schedules and Statements shall be
        deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the
        assertion of such Claims or Causes of Action.


    12. Parties-in-Interest.

           a. BV Grill Nyack, LLC - There is a dispute regarding the actual ownership of BV
              Grill, which operates a restaurant located in the Debtor’s hotel property. The
              Trustee has not yet taken a position with respect to the proper ownership and
              management of BV Grill and, accordingly, any statements or references to BV Grill
              or its management are not intended to be an admission, concession or waiver by the
              Trustee of any of the Trustee’s rights or remedies with respect to same.
           b. EMC Real Estate Holdings, LLC, f/k/a Key Real Estate Holdings, LLC
              (“Holdings”) is a limited liability company formed under the laws of the State of
              New York on or around April 22, 2014. Holdings became the majority owner of
              the Debtor and was or is owned by some combination of Donald F. Wellington and
              Kerry P. Wellington (collectively, the “Wellingtons”), Michael Yanko and Edgar
              M. Costa (“Costa”).


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    13. Global Notes Control. If the Schedules and Statements differ from these Global Notes,
        the Global Notes shall control.



                 Specific Disclosures with Respect to the Debtor’s Schedules

       Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtor’s
       assets as of the close of business on June 18, 2018, unless otherwise noted below.

       Schedule A/B part 7, 8 and 9. Values related to furniture, equipment, building, vehicles
       and real property are listed on Schedule A/B part 7, 8 and 9 as reflected in the December
       31, 2016 federal income tax return.

       Schedule D. The Claims listed on Schedule D arose or were incurred on various dates; a
       determination of the date upon which each Claim arose or was incurred would be unduly
       burdensome and cost prohibitive. Accordingly, not all such dates are included. All Claims
       listed on Schedule D, however, appear to have been incurred before the Petition Date.

       Schedule E/F part 1. This category includes the costs, fees, and expenses of operating the
       Debtor’s business and administering the bankruptcy case incurred between the time the
       involuntary bankruptcy was filed and the date the Court approved the appointment of the
       Trustee.

       Schedule E/F part 2. The Trustee has used reasonable efforts to report all general
       unsecured Claims against the Debtor on Schedule E/F part 2, based upon the Debtor’s
       books and records as of the Petition Date.

       Determining the date upon which each Claim on Schedule E/F part 2 was incurred or arose
       would be unduly burdensome and cost prohibitive and, therefore, the Trustee does not list
       a date for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on Schedule
       E/F part 2 may have been aggregated by unique creditor name and remit to address and
       may include several dates of incurrence for the aggregate balance listed.

       Schedule E/F part 2 contains information regarding pending litigation involving the
       Debtor. The dollar amount of potential Claims associated with any such pending litigation
       is listed as “undetermined” and marked as contingent, unliquidated, and disputed in the
       Schedules and Statements. Some of the litigation Claims listed on Schedule E//F may be
       subject to subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F
       part 2 also includes potential or threatened litigation claims. Any information contained in
       Schedule E/F part 2 with respect to such potential litigation shall not be a binding
       representation of the Debtor’s liabilities with respect to any of the potential suits and
       proceedings included therein. The Trustee expressly incorporate by reference into Schedule
       E/F part 2 all parties to pending litigation listed in the Trustee’s Statements 7, as contingent,
       unliquidated, and disputed claims, to the extent not already listed on Schedule E/F part 2.



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      Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
      contracts and unexpired leases. Such prepetition amounts, however, may be paid in
      connection with the assumption, or assumption and assignment, of executory contracts or
      unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
      damage Claims, if any, of the counterparties to executory contracts and unexpired leases
      that may be rejected.

      Schedule G. Certain information, such as the contact information of the counterparty, may
      not be included where such information could not be obtained using the Trustee’s
      reasonable efforts. Listing or omitting a contract or agreement on Schedule G does not
      constitute an admission that such contract or agreement is or is not an executory contract
      or unexpired lease was in effect on the Petition Date or is valid or enforceable. Certain of
      the leases and contracts listed on Schedule G may contain certain renewal options,
      guarantees of payment, indemnifications, options to purchase, rights of first refusal, and
      other miscellaneous rights. Such rights, powers, duties, and obligations are not set forth
      separately on Schedule G.

      The contracts, agreements, and leases listed on Schedule G may have expired or may have
      been modified, amended, or supplemented from time to time by various amendments,
      restatements, waivers, estoppel certificates, letters, memoranda, and other documents,
      instruments, and agreements that may not be listed therein despite the Trustee’s use of
      reasonable efforts to identify such documents. Further, unless otherwise specified on
      Schedule G, each executory contract or unexpired lease listed thereon shall include all
      exhibits, schedules, riders, modifications, declarations, amendments, supplements,
      attachments, restatements, or other agreements made directly or indirectly by any
      agreement, instrument, or other document that in any manner affects such executory
      contract or unexpired lease, without respect to whether such agreement, instrument, or
      other document is listed thereon.

      In addition, the Debtor may have entered into various other types of agreements in the
      ordinary course of its business, such as subordination, nondisturbance, and attornment
      agreements, supplemental agreements, settlement agreements, amendments/letter
      agreements, title agreements and confidentiality agreements. Such agreements may not be
      set forth on Schedule G. Certain of the executory agreements may not have been
      memorialized and could be subject to dispute. Executory agreements that are oral in nature
      have not been included on the Schedule G.

      Schedule H. For purposes of Schedule H, the debtors that are either the principal obligors
      or guarantors under the prepetition debt facilities are listed as co-debtors on Schedule H.
      The Trustee may not have identified certain guarantees associated with the Debtor’s
      executory contracts, unexpired leases, secured financings, debt instruments, and other such
      agreements.

      In the ordinary course of its business, the Debtor may be involved in pending or threatened
      litigation. These matters may involve multiple plaintiffs and defendants, some or all of



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      whom may assert cross-Claims and counter-Claims against other parties. Litigation matters
      can be found on the Debtor’s Schedule E/F part 2 and Statement 7, as applicable.




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 Fill in this information to identify the case and this filing:


              EMC Hotels and Resorts LLC
 Debtor Name __________________________________________________________________
                                            Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):     18-22932 (RDD)
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         X
             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         X    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         X
             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         X
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         X
             Schedule H: Codebtors (Official Form 206H)

         X
             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                                 Global Notes, Methodology and Specific Disclosures Regarding the
              Other document that requires a declaration__________________________________________________________________________________
                                                              Debtor's Schedules of Asset and Liabilities and Statement of Financial
                                                              Affairs

        I declare under penalty of perjury that the foregoing is true and correct.


                     September 5,
        Executed on ______________          2018              _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Fred Stevens
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chapter 11 Trustee
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
